                                          Case 5:22-cv-00681-EJD Document 29 Filed 04/28/22 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6                                        SAN JOSE DIVISION

                                   7

                                   8     DERRICK MONET,                                     Case No. 5:22-cv-00681-EJD
                                                        Plaintiff,                          ORDER GRANTING IN PART
                                   9
                                                                                            MOTION TO STAY DISCOVERY AND
                                                 v.                                         CONTINUING CASE MANAGEMENT
                                  10
                                                                                            CONFERENCE
                                  11     TESLA, INC.,
                                                        Defendant.                          Re: Dkt. No. 26
                                  12
Northern District of California
 United States District Court




                                  13          Defendant Tesla, Inc. (“Tesla”) removed this action to federal court on February 2, 2022.

                                  14   Dkt. No. 1. On February 7, 2022, Plaintiff Derrick Monet moved to remand the action. Dkt. No.

                                  15   10. Following reassignment of this action to the undersigned, an initial case management

                                  16   conference was set for July 28, 2022. Dkt. No. 20.

                                  17          On April 13, 2022, Monet filed a motion to stay the action pending resolution of the

                                  18   motion to remand. Dkt. No. 26. Tesla does not oppose. See Dkt. No. 27 ¶ 2.

                                  19          The Court GRANTS IN PART the motion to stay as it pertains to discovery. The July 28,

                                  20   2022 case management conference is CONTINUED to September 29, 2022. The parties shall file

                                  21   a joint case management statement by September 19, 2022.

                                  22          IT IS SO ORDERED.

                                  23   Dated: April 28, 2022

                                  24

                                  25
                                                                                                   EDWARD J. DAVILA
                                  26                                                               United States District Judge
                                  27

                                  28   Case No.: 5:22-cv-00681-EJD
                                       ORDER GRANTING IN PART MOT. TO STAY DISC. AND CONTINUING CMC
                                                                         1
